                                           Case 18-60018 Document    31 Filed
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                                                                            BA NKRUPTCY COU06/21/18
                                                                                            RT      Page 1 of 29
                                                                SOUTHERN At'P WESTER N DISTRICTS O F TEXA S
                                                                          Houston      DIVISION

         CASE NAME: Garden Oaks_.i· :dintenance Org., Inc.                                                             Petition Date:     4/11/2018
                                                                                                                                 CASE NUMBER:           18-6001 8


MONTHLY OPERATING REPORT SUMMARY FOR MONTH                                                                             May               YEAR 2018
                                                                    4/2018             5/2018
                            MONTH
                                                                    82,222.71          179.24
 REVENUES (MOR-6)

 I NCOME BEFORE INT, DEPREC.lTAX (MOR-6)
                                                                    75,033.71          3164.52

 NET INCOME (LOSS) (MOR-6)
                                                                    75,033.71          3164.52

 PAYMENTS TO INSIDERS (MOR-9)

 PAYMENTS TO PROFESSI ONALS (MOR-9)
                                                                    4953.14            (-4953.14)

 TOTAL DISBURSEMENTS (MOR-B)
                                                                                       4002.86


H +Thc origina l of this document mu st be fil ed with the United States Bankruptcy Court and a copy mu st be se nt to the United States Trustee***
                                                                                                                                           CIRCl.EONE
                                                                          Are all accounts receivable being collected within terms?(Ye;) No Cash Basis Accounting
REQUIRED INSURANCE MAINTAINED                                             Arc all post.pet iti on liab iliti es, including taxes, being paid'wiri;'f;l terms? ~ No
 AS OF SIGNATURE DATE      '-~YP.
                                                                          Have any pre-petition liabilities been paid? Yes   ®     Ifso, describe
ICASUA LTY                   YES( ) NO(    )
                                               run
                                                 -'--.J:1-ltJ               Inyoices recieved revjewed a nd pajd each month Except Attorney Fees
LlAB1LlTl'                   rES( ) NO(    )     -'- -n 7B                Are all funds received being deposited into DIP bank accounts? tfiS) No As of June 4, 2018
VEfIICLE                     YES( ) NO(    )                              Were any assets disposed of outside the nonnal course of bllsine~Yes ~
WORKER 'S                    I'ES( ) NO(   )                              I f so, describe _,-----;;:_,----;--;;---;::_ _-,--_ _--,;;:--;;;=,,=_ _ __ _ _ _ _ _ _ _ _ _ __
OTHER N'!i~                  l'ES(ofNO(    )     4--~-n                   Are all U. S. Trustee Quarterly Fee Payments current?  ®           No
             f:)¥D                                 ~ -l-9-,8                 What is the status of your Plan of Reorgan ization ?
ATTORNEY NAME:                                                               Uokl1o~a~oLda1a oLlbis filina .

FIRM ,
                                                                                               I certify under penalty of perjury that the fo ll owing co mplete
A DDRESS:
                                                                                               Monthly Operating Report (MO R), consisting ofMOR-1 through
ADDRESS ,
CITY, STATE ZIP,                                                                               MOR-9 plus attachments, is true and correct.
TELEPHONE:
                                                                                               SIGNED      Q--~"B: is
                                                                                                                         (ORlGlNAL SIGNATURE)



              MOR-l                                                                           TITLE Office Mor , GOMO
                                       Case 18-60018 Document 31 Filed in TXSB on 06/21/18 Page 2 of 29
                 CASE NAME:   Garden Oaks Maintenance Org., Inc.                                                  CASE NU MBER:           18-60018


                                                  COMPARATIVE BALANCE SHEETS
                                              FILI NG DATE-
                                                                     MONTH             MONTH             MONTH        MONTH                        MONTH   MONTH
ASSETS                                       4/11/2018               4/2018            5/201 8           6/2018       7/2018                      8/2018   9/2018
CURR ENT ASSETS
Cash                                        50 1,708.65           576,688.80        579,853.32

Accou nts Receivable, Net

Inventory : Lower ofCOSl or Ma rk et

Prepaid Expen ses

 In vestm ents

 Other

TOTAL CURRENT ASSETS

PROPERTY, PLANT&EQUIP, @ COST              5058 .29              5058.29            5058.29
                                                                                                                                                                    ,



Less Accumulated Depreciation
                                           (-3990.49)             (-3990.49)       (-3990.49)

NET BOOK VALUE OF PP & E                   1067.80                1067.80           1067.80

OTHER ASSETS :

 1. Tax Deposits

 2. Investments in Subs

 3.

 4.   (aHach 1(51)

                                           502,776.45            577,756.60        580,921.12
      TOTAL ASSETS
                                                              ' Per Schedules and Statement of Affairs
                     MOR-2                                                                                                 R,...,~~d'" /.J 9('i
                                                        Case 18-60018 Document 31 Filed in TXSB on 06/21/18 Page 3 of 29
                       CAS E NA ME:        Garde n Oaks Maintenance Org ., Inc.                                                  CASE NU MBER:   18-60018




- ~   ~
                                                                  COMPARATIVE BALANCE SHEETS
  LlABILITlES & OWNER' S                                      FILING DAT E·                                                                           MONTJ.I

  EQUITY                                                    4/11/2018               14/20181         15/20181       16/201 8 1      17/201 8 1         18/201 8 1   19/20181
  L1ABILITlES:
           I' OST-J' ETITION LI A BILITIES (M OIl.-4)

          PRE· PET!TlON LIABILITIES

           Notes Payable-Secured

           Priority Debt

           Federallnoome Tax

           FICNWithholding

           Unsecured Debt

           Other

      TOTAL PRf...PETITION LIABILITI ES

  TOTAL LlABl LlTlES

  OWNERS'S EOUITY (DEFI CI T):
          PREFERRED STOCK

          COMMON STOCK

  ADDITIONAL PAID-IN CAPITAL

  RETAINED EARNINGS: Filing Date

  RETAINED EARNINGS: Post Filing Date

  TOTAL OW NE R'S EQU ITY (N ET WORTH)


  TOTAL LlAB lLITlES & OWNER'S
  EQUITY

                             MOR-3                                            .Per Schedules and Statement of Affairs                             &rmed:6 /J lid
                                 Case 18-60018 Document 31 Filed in TXSB on 06/21/18 Page 4 of 29
         CASE NA M E:    Garden Oaks Maintenance Org .• Inc.                          CASE NU M BE;,:   18-60018


                                    SCHEDULE OF POST-PETITION LIABILITIES
                                                       MONTH      MONTH       MONTH         MONTH               MONTH             MONTH



TRADE ACCO UNTS PAYABLE
TAX PAYABLE:

 Federal Payroll Taxes

 State Payroll & Sales

 Ad Valorem Taxes

 Otber Taxes

TOTAL TAXES PAYABLE

SECURED DEBT POST-PETITION

ACCRUED INTEREST PAYABLE

*ACCRUED PROFESSIONAL FEES:

OTHER ACCRUED LIABILITIES:

 1.

 2.

 3.

TOTAL POST-PETITION LIABILITIES (MOR-3)
 • Payment Requires Court Approval.
               MOR-4                                                                                     I/.~'·J"cd ~   f.I J/6
                              Case 18-60018 Document 31 Filed in TXSB on 06/21/18 Page 5 of 29



          CASE NAME:   Garden Oaks Maintenance Org., Inc.                         CASE NUMBER:          18-6001 8



                                            AGING OF POST-PETITION LIABILITIES
                                                    MONTH _ _ __

DAYS               TOTAL         TRADE ACCTS        FED TAXES    STATE TAXES       AD-VALOREM.                      OTHER
                                                                                   OTHER TAXES


  0-30

 31-60

 61-90

  91+

TOTAL




                                               AGING OF ACCOUNTS RECEIVABLE


          MONTH

         0-30 DAYS

         31-60 DA YS

         61-90 DAYS

         91 + DAYS

          TOTAL

             MOR-5                                                                         &,.",." 6   I~   96
                                                           Case 18-60018 Document 31 Filed in TXSB on 06/21/18 Page 6 of 29
                        CA SE NAME:                 Garden Oaks Maintenance Org., Inc.                         CASE NUMBER: 18-600 18




                                                                                                       STATEMENT OF INCOME (LOSS
                                                                                    4/11/2018                         4/2018       5/2018
                                MONTH                                                                                                                                   FlLlNGTODAT[




  REVENUES (MOR-I)                                                                  53.56                             82,222.71    179.24                               82,401.95
  TOTAL COST OF REVENUES

  GROSS PROFIT                                                                      53.56                             82,222.71    179.24                               82,401 .95
  OPERATING EX PENSES :

        Selling & Marketing

        General & Administrative
                                                                                                                      2235.86      1967.86                              4203 .72

        Insiders Compensation

        Professional Fees
                                                                                                                      4953 .14     (-4953.14)                           .00

        Other (a t1ach        list)




  TOTAL OPERATING EXPENSES                                                                                            7189.00      (-2985.28)                           4203.72

  INCOME BEFORE INT, DEPRITAX (MOR- I)

  INTEREST EX PENSE

  DEPRECIATION

  OTHER ( fNCOME) EXPENSP

  OTHER ITEMS"

  TOTAL INT, DEI'R & OTtlER ITEMS

  NET INCOME BEFORE TAXES                                                           53.56                             75,033 .71   3164.52                              78,251.79

  FEDERAL INCOME TAXES

  NET INCOME (LOSS) (MOR-I)                                                         53.56                             75,033.71    3164.52                              78,251 .79
   Accrual AC"(.'(JllI1ll11g Reqlllre(/, Olhen4'l.~e FfXl/lIOfe /V1l1r F::tphmalloll
• Foolllol e M{IIIc/mory
"" UIIII.wal lind or lIifreq llelllllelll('l) o lll.I'ide the ordil1a1)1,'(Jurse O/b ll.lmess: re'l lllr(,.I'/f)()/llol e

                                MOR-6                                                                                                           1/,.,.,...." () /4 96
              CASE NAME: ljaraen uCase  18-60018
                                   aKS lVIalnl " ,,, n e eDocument
                                                           u rg. , Inc.                         31 Filed in TXSB on 06/21/18 CASE
                                                                                                                             PageNU
                                                                                                                                  7 MBER:
                                                                                                                                    of 29     1 /j - b UU l /j




CASH RECEIPTS AND DISBURSEMENTS                                         M ONTH                   MONTH       MONnl     MONT I!     M ONTI'I                  M ONTII    SI X M ONT HS T O
                                                                     4/2018                    5/2018       6/2018     7/2018    8/2018               9/2018                 DATE

 I. CASH - BEG I NNI NG OF MONTI-I                                501 ,655.09 576,688.80                                                                                                    .


                                                                                                                                                                                            i
RECE II'TS:

 2. CASI1 SA   u::s                                               82, 169.15               125.00
 J. COLLEc nON OF ACCOUNTS RECE I VA BLE

 4. LOA NS & ADVANCES (attac h list)

 5. SALE OF ASSET S

 6. OH lER (a ttac h list)                                        53 .56                   54.24
TOTAL RECE IPTS                                                   82,222.71                179.24
(W il hd rnwa l)Coulrib ution by IlIIli\'id ua l Debtor M,FR-Z·

DI SBURSEMENTS:

 7. NET I'A "ROLL

 8. PAYROLL TAXES PAID

 9. SALES. USE & OTHER TAXES PAID

10. SECUR ED ! RENTAL ! LEASES                                    950.00                   950.00
11. UTILITIES

12. I NSURANCE

13. I NVENTORY PURCH ASES

14. VE HI CLE EXPENSES

15. T RA VE L & ENT ERTA I NMENT

16. RE I'A IRS, MA INTENANC E & SU PPLI ES

17. ADI\'II NISTRATI VE & SELLI NG                                1285.86                  1017.86
18. OTHER (attac h list)

TOTAL DISBURSEM ENT S fR OM O PERA TION5

19. PROFESSIONAL FEES                                             4953.14                  (-4953.14)
20. U.S. TRUSTEE FEES

21. OTHER REORGANIZATION EX PENSES (attach lisl)

TOTAL DISBU RSE M ENTS                                            17189.00                 (-2985 .281
22. NET CASH FLOW                                                  75 ,033.71              3164.52
23. CASH · EN I) OF MONTH (mor. 2)                                576,688.80 579,853.32

                      MOR-7                                        'A pplies to Individual debtor's only.                                     R,·' ......d Ii IJ   9~
                                    Case 18-60018 Document 31 Filed in TXSB on 06/21/18 Page 8 of 29


           CASE NAME:   Garden Oaks Maintenance Org., Inc.                                                      CASE NUMBER:   18-60018




                                                   CASH ACCOUNT RECONCILIATION
                                                     MONTH OF Aoril/2018         ~   .   ~   .




BANK NAME                                BBVACom[1as:         BBVACom[1as:                   BBVACom[1as:

ACCOUNT NUMBER
                                            0085150596           6725037617                      6735357245
                                        #                    #                           #
                                                                 Addl Checking                    MoneyMkl.
A CCOUNT TYPE                               OPERATING            - -PAY-RGL-I: --                  ---TAX----        OTHER FUNDS                             TOTAL

BANK BALANCE
                                       80,782.98             227.05                      502 ,666.91                                  583,676.94

DEPOSIT IN TRANSIT

OUTSTANDING CHECKS
                                       6988.14                                                                                        6988.14

ADJUSTED BANK BALANCE
                                       73,794.84         227.05                          502 ,666.91                                  576,688.80

BEG INNING CASH - PER BOOKS
                                       80,782.98         427.91                          420,444.20                                   501 ,655.09

RECEIPTS                                                                                 82,222.71                                    82,222.71

TRANSFERS BETWEEN ACCOUNTS

(W ITHDRA WAL)CONTRIBUTlON-
BY INDIVIDUAL DEBTOR MFR-2

CHECKSIOTHER DISBURSEMENTS             6988.14           200.86                                                                       7189.00

ENDING CASH - PER BOOKS                73,794.84         227.05                          502,666.91                                   576,688.80
                                                                                                                                                                     II

              MOR-8                                                                                                                   RC1'IJ~d   IS I J 96
                                    Case 18-60018 Document 31 Filed in TXSB on 06/21/18 Page 9 of 29


           CASE NAME:   Garden Oaks Maintenance Org., Inc.                                                 CASE NUM BER:   18-60018




                                                   CASH ACCOUNT RECONCILIATION
                                                     MONTH OF Mav/2018
BANK NAME                                BBVAComl2as:                BBVAComl2as:         BBVAComl2as:

ACCOUNT NUMBER
                                            0085150596                6725037617             6735357245
                                        #                        #                       #
                                                                       Addl Checking          MoneyMkl
ACCOUNT TYPE                                OPERATING                  --PAY-RGl-l: --           m TAX-m         OTHEB. EUNDS                      TOTA L

BANK BALANCE
                                       76,671.03                461.14                   502,721 .15                              579,853.32

DEPOSIT IN TRANSIT

OUTSTANDING CHECKS

ADJUSTED BANK BALANCE
                                       76,671.03               461.14                    502,721.15                               579,853 .32

BEGINNING CASH - PER BOOKS
                                       80,782.98               227.05                    502,666.91                               583,676.94

RECEIPTS                               125.00                  529.45                    54.24                                    179.24

                                       (-529.45)
TRANSFERS BETWEEN ACCOUNTS
                                                                                                                                                            I
                                                                                                                                                            :

(WITHDRA WAL)CONTRIBUTlON-
BY INDIVIDUAL DEBTOR MFR-2

CHECKS/OTHER DISBURSEMENTS
                                       3707.50                 245.36                                                             4002.86

ENDING CASH - PER BOOKS                76,671.03               461 .14                   502,721.15                               579,853.32
                                                         --- - - -
                                                                                                                                                            i

              MOR-8                                                                                                               H~m"d6   N \16
                                  Case 18-60018 Document 31 Filed in TXSB on 06/21/18 Page 10 of 29
     CASE NAME:         Garden Oaks ,Jjaintenace Org. , Inc.                        CASE NUMBER: 18-60018




                                                 PAYMENTS TO INSIDERS AND PROFESSIONALS
Of th e total disbursements shown for the month , list the amount paid to insiders (as defined in Section 101(31)(A)-(F) of th e U. S. Bankruptcy Code) and the
professionals.     Also, for insiders identify the type of compensation paid (e.g., salary, commission, bonus, etc.)   (Attach additional pages as necessary.)


                                                           MONTH              MONTH               MONTH                MONTH                        MONTH    MONTI-I
         Ji\'SIDERS: NAME/ POSITION/COM) TYPE




1.

2.

3.

4.

5.

6.

TOTAL. I NSIDERS (l\'10R-I)




                                                          MONTH               MONTH               MONTH                MONTI I                  MONnl       MONTH
                    PROFESSIONALS
                   NAME/ORDER DATE                         4/2018           5/2018

1.    Barsalou/Apr 2018                              4953.14            (-4953.14)

2.

3.

4.

5.

6.

TOTAL "I{OFESSIONALS (I\'IOR-I)


          MOR-9                                                                                                                   /I"I'lud;" IJ 9
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RST;7>;>
 UD7V-G;=WH8;-F;;>                                                                      B1A//
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  XZ9YP-G<9=DN;-F;;>                                                                   000ALB           000ALB
  67<;=7;<-G;=WH8;-F;;>                                                                 10AC.            10AC.
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 29><DN;-D7P-\;ZHW;=]                                                                   ?/A//
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2P71271284                    @>./S                          O@                            ^0_31.F            08883RU
2P71571284                    @>./S                          O@                            70E<`%a1/3           0Q3U8
X0F<3                                                                                                        0122345
                  Case 18-60018 Document 31 Filed in TXSB on 06/21/18 Page 15 of 29


Page 1 of 3
Primary Account: 6725037617
                                                                                                            13I3VA Compass
Beginning May 1, 2018 - Ending May 31, 2018                                       31




          21 G A R D E N OAKS MAINTENANCE ORGANIZATION INC
                4001 N SHEPHERD DR STE 2 1 6
                HOUSTON TX 77018-5507




    BusinessClass Preferred
                                                                                                               Contacting Us
                                                                                                               Available by phone 24/7

                                                                                                        Phone 1-800-266-7277

                                                                                                        Online bbvacompass.com

                                                                                                        Write B B V A Compass
                                                                                                               Customer Service
                                                                                                               P.O. Box 10566
                                                                                                               Birmingham, AL 35296


Summary of Accounts
Deposit Accounts/ Other Products
                                                                                                           Ending balance      Ending balance
Account       A       c      c       o        u           n               t            number               last statement      this statement
CLEARCONNECT FOR BUSINESS            6   7    2   5   0       3       7       6   1    7                          $227.05             $461.14

Total Deposit Accounts           $            2                   2                   7         .   0         5              $ 4 6 1 . 1 4
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839:3918:;                    CA12T                         RC                            EH1@52?KG(>I?@(C3M51@                 06438
839:3918:;                    CA12T                         RC                            C3H2?GI                              0;:461
8391:918:;                    CA12T                         RC                            ^3_441I                             0:::425
83911918:;                    CA12T                         \YY                           C3HM?GG(^?4T                         05;488
83912918:;                    CA12T                         RC                            
3H?`(a424                            0S45:
X3I?6                                                                                                                        0123456
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REXY                             XZ[Y                       0Y\(]
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X3I?6                                                                                                                         312473
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REXY                         XZ[Y                           0Y\(]
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86987918:;                   CA12T                          EX                           9?@714(
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                    Case 18-60018 Document 31 Filed in TXSB on 06/21/18 Page 20 of 29
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P1E.<.CE%.;<1.4                                                                                               7Q674
?=./RC%;14%I;9D.1EC%/3.;<.4%S6T                                                                                6666
N.I0C2EC%;14%0E=.<%/<.42EC%/3.;<.4%S3T                                                                    012345637
:E;E.D.1E%.1421B%8;3;1/.                                                                                 7612444653
%
-.B2CE.<%8;3;1/.%;C%0F%6O7Q671630                                                                        7612444653

UVW
N.I0C2EC%;14%0E=.<%/<.42EC%/3.;<.4%S3T
NAXY                             XZ[Y                      -Y\%]96                       [AZYY       A
9M]X%SM:NT
6O71Q71630                       N.I0C2E                                                                 012345637
X0E;3                                                                                                   012345637
Case 18-60018 Document 31 Filed in TXSB on 06/21/18 Page 21 of 29
Case 18-60018 Document 31 Filed in TXSB on 06/21/18 Page 22 of 29
                   Case 18-60018 Document 31 Filed in TXSB on 06/21/18 Page 23 of 29
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6A7A&@&)A&),*)>47+7)'&                                                                           L.2MT21F1L

%&>*?A&847+7)'&7?(B.L0U102.13                                                                  L.2MT21F1L
                Case 18-60018 Document 31 Filed in TXSB on 06/21/18 Page 24 of 29


Page 1 of 3
Primary Account: 0085150596
                                                                                                                                            BBVA Compass
Beginning April 1, 2018 - Ending April 30, 2018                                        30




           21 G A R D E N OAKS MAINTENANCE ORGANIZATION I N C
                 4001 N SHEPHERD DR STE 2 1 6
                 HOUSTON T X 77018-5507




     BusinessClass Preferred
                                                                                                                                                Contacting Us
                                                                                                                                                Available by phone 24/7

                                                                                                                                    Phone 1-800-266-7277

                                                                                                                                    Online bbvacompass.com

                                                                                                                                    Write B B V A Compass
                                                                                                                                           Customer Service
                                                                                                                                           P.O. Box 10566
                                                                                                                                           Birmingham, AL 35296


Summary of Accounts
Deposit Accounts/ Other Products
                                                                                                                                        Ending balance          Ending balance
Account        A       c       c           o           u           n           t            number          l       a           s       t    statement           this statement
CLEARCHOICE FOR BUSINESS               0       0   8       5   1   5       0   5       9    6       $   8       1   ,       7       9       8   .   9   8           $80,782.98

Total Deposit Accounts             $           8           1           ,           7            9       8               .               9           8       $80,782.98
Case 18-60018 Document 31 Filed in TXSB on 06/21/18 Page 25 of 29
                   Case 18-60018 Document 31 Filed in TXSB on 06/21/18 Page 26 of 29
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                                                                     /012314506'237'389379:317
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D3<'1@>3E0F'G>60'H2'H?>3F>1H423F'>IH0?'H@4F'6>H0'>?03JH'4315K606'43'H@4F'?0L2?H5
MNO                                                                                                                          P=Q
=H>H0G03H';0E43343E';>5>310                                                                                                 712R67567
B@01SF'>36'L><G03HF'150>?06'T:U                                                                                             012314533
Q0L2F4HF'>36'2H@0?'1?064HF'150>?06'T3U                                                                                           3533
=H>H0G03H'03643E';>5>310                                                                                                    732R7:567
'
P3150>?06'H?>3F>1H423F'>F'2I'389V39:317                                                                                     042677518
/0E4FH0?';>5>310'>F'2I'389V39:317                                                                                           RV2R68578

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3V9:19:317                    B@01S                       :861                         =>?>@'A5'B?2C60?                        044533
3V9:19:317                    B@01S                       :86:                         ]?2E?0FF'`3a0FHG03H']?2L0?H40F         0683533
Z2H>5                                                                                                                      012314533
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P3150>?06'1@01SF'>36'L><G03HF'>F'2I'389V39:317
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3891R9:317                   B@01S                        :414                         ]?2E?0FF'`3a0FHG03H']?2L0?H40F         0683533
3891R9:317                   B@01S                        :41R                         c>?F>52K'd'DFF214>H0F2']AAB          012R445R8
3891R9:317                   B@01S                        :417                         c>?F>52K'd'DFF214>H0F2']AAB          012:685V6
3891R9:317                   B@01S                        :416                         c>?F>52K'd'DFF214>H0F2']AAB          01276:533
3891R9:317                   B@01S                        :418                         ]>G05>']>?SF                         0123:8533
3891R9:317                   B@01S                        :418                         =>?>@'A5'B?2C60?                        043533
Z2H>5                                                                                                                      042677518
Case 18-60018 Document 31 Filed in TXSB on 06/21/18 Page 27 of 29
Case 18-60018 Document 31 Filed in TXSB on 06/21/18 Page 28 of 29
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S3N5H7JH*@69*5JB3A*4A397JH*483@A39*U1V                                                                                          9386


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9<                    DB34T                       3591                         ]@I38@*]@ATH                         092
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9<                    DB34T                       3598                         ?@A@B*C6*DA5E93A                        05
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9<                    DB34T                       3597                         ?@A@B*C6*DA5E93A                        0586



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9<                    DB34T                       359<                         @A936*@TH*@76J36@643*Ab            0837618

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9<                    DB34T                       353
                         ]@I38@*]@ATH                           05868


8;98;3
9<                    DB34T                       359                         ]A5GA3HH*`6a3HJI36J*]A5N3AJ73H         078
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